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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                  Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.


   PLAINTIFFS’ OPPOSITION TO DEFENDANT JAMES A. FIELDS, JR.’S MOTION TO
           STAY DISCOVERY PENDING OUTCOME OF CRIMINAL CASE
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          Plaintiffs hereby respectfully request that the Court deny the Motion to Stay Discovery

  Pending Outcome of Criminal Case (“Motion,” ECF No. 233-234) filed by Defendant James A.

  Fields, Jr.

                                    PRELIMINARY STATEMENT

          Fields’ Motion to stay all discovery for all parties, based solely on the pendency of his own

  criminal case, should be denied. Plaintiffs appreciate that Fields is facing a criminal trial and may

  elect to assert his Fifth Amendment rights in connection with certain discovery in this civil

  litigation. But it would be inappropriate to stay all discovery for an indefinite duration based on

  the possibility that one Defendant might refuse to answer certain questions, where there are

  numerous additional Defendants and Plaintiffs, and where Fields himself has already answered the

  complaint, admitted certain facts, promulgated discovery requests on Plaintiffs, provided initial

  disclosures and responded to discovery–all without once invoking his Fifth Amendment privilege.

          Fields’ Fifth Amendment rights can and would be fully protected without the need for a

  stay of discovery in this case. As shown below, and as the case law makes clear, Fields can

  obviously assert his Fifth Amendment rights in response to specific discovery requests. Fields has

  already demonstrated that this would not impose an undue burden on him as he has already

  admitted certain facts and presumably would assert his Fifth Amendment privilege if and when he

  felt it was necessary.

          In short, a blanket stay applicable to all parties for an indefinite duration fails to satisfy the

  factors courts in this Circuit use to evaluate such motions. Given that, and Fields’ ability to protect

  his rights without a stay of discovery, the Motion should be denied.



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                                               FACTS

         The Complaint was filed on October 11, 2017, (ECF No. 1), and Fields filed his Answer

  on November 9, 2017. (ECF No. 88.)          Fields did not invoke (or even mention) the Fifth

  Amendment in response to any allegations in the Complaint. In response to paragraph 24, for

  example, which alleges the conduct for which Fields has been charged with murder, Fields

  admitted “that the front of his Dodge Challenger collided with the rear of another vehicle” and that

  “he has been charged with the crimes related to the collision. Otherwise denied.” (Id. at ¶ 24.)

         The parties held a Rule 26(f) teleconference on November 29, 2017. (See ECF No. 135.)

  In the Joint 26(f) Report filed on December 6, 2017, Fields agreed to an initial disclosure date of

  December 20, 2017, and a close of fact discovery deadline 150 days prior to trial, and he requested

  only that depositions of defendants facing criminal charges for conduct at issue in this action be

  scheduled “after the criminal case has been tried or a plea agreement has been accepted by the

  Court as to that Defendant.” (Id. at 4.) Per this schedule, Fields served his initial disclosures on

  December 20, 2017, without asserting a Fifth Amendment privilege on any of the topics requiring

  disclosure. Nowhere in the Joint 26(f) Report did Fields state that he was seeking a stay of all

  discovery based on his Fifth Amendment privilege.

         Plaintiffs amended their Complaint on January 5, 2018, (ECF No. 175), and Fields filed

  his Answer on January 18, 2018 (ECF No. 196). In his Answer to the Amended Complaint, Fields

  did not assert a Fifth Amendment privilege in response to any allegations.

         On February 20, 2018, Fields served on all ten Plaintiffs his first Requests for Production

  (“RFPs”) and Interrogatories. Fields’ discovery seeks from Plaintiffs, among other things, “any

  and all documents reports or records which confirm, document, support or do not support the
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  Plaintiff’s claims of permanent injury and/or impairment/disability and/or future expenses, if any”

  (RFP 6) and answers that “specify the injuries including, but not limited to, mental and physical

  complaints, which you claim resulted from the incident alleged in your Complaint” (Interrogatory

  3).

         On February 23, 2018, Fields served his Responses and Objections to Plaintiffs’ First RFPs

  and First Set of Interrogatories, asserting objections on the grounds of relevance, overbreadth, and

  attorney-client privilege, among other bases. Fields’ Responses and Objections do not include any

  objections based on his Fifth Amendment rights or the pendency of his criminal trial, and he did

  not assert a privilege or intention to withhold responsive information on that basis.

         Also on February 23, 2018, Fields filed the instant Motion, asking the Court to “stay all

  discovery in the present case until the criminal cases are resolved either by trial or plea agreement.”

  (Mot. at 3.) Fields alleges that his criminal trial currently is scheduled to begin on November 26,

  2018. Id. As of this filing, no other Defendant has joined in Fields’s Motion.

                                             ARGUMENT

         Motions to stay discovery are “generally disfavored,” Bennett v. Fastenal Co., No. 7:15-

  CV-00543, 2016 WL 10721816, at *1 (W.D. Va. Mar. 8, 2016), and “[t]he proponent of a stay

  bears the burden of establishing its need,” Clinton v. Jones, 520 U.S. 681, 707 (1997); see also

  Williford v. Armstrong World Indus., Inc., 715 F.2d 124, 127 (4th Cir. 1983) (“The party seeking

  a stay must justify it by clear and convincing circumstances outweighing potential harm to the

  party against whom it is operative.”). In evaluating a motion to stay, federal “courts have generally

  used the balancing test set in Landis that weighs the hardship to the moving party against the



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  prejudice to the opposing party.” Avalonbay Cmtys., Inc. v. San Jose Water Conservation Corp.,

  No. Civ-A-07-306, 2007 WL 2481291, at *1 (E.D. Va. Aug. 27, 2007).

         Although the Fourth Circuit has not ruled on the standard for evaluating a criminal

  defendant’s request to stay a related civil matter, district courts in the Fourth Circuit generally

  consider five factors: “(1) [i]nterest of plaintiff in proceeding expeditiously balanced against

  prejudice to plaintiff caused by delay; (2) burden on defendant; (3) convenience to the [C]ourt; (4)

  interests of persons not party to the civil litigation; and (5) the public interest.” Skinner v. Armet

  Armored Vehicles, Inc., No. 4:12-cv-00045, 2015 WL 540156, at *4 (W.D. Va. Feb. 10, 2015)

  (citing In re Mid-Atl. Antitrust Litig., 92 F.R.D. 358, 359 (D. Md. 1981)); Avalonbay Cmtys., Inc.,

  2007 WL 2481291, at *2; see also U.S. v. Georgia Pac. Corp., 562 F. 2d 294, 296 (4th Cir. 1977)

  (“The determination by a district judge in granting or denying a motion to stay proceedings calls

  for an exercise of judgment to balance various factors relevant to the expeditious and

  comprehensive disposition of the causes of action on the court’s docket.” (citing Landis v. N. Am.

  Co., 299 U.S. 248, 254 (1936)).

         A.      Fields’s Criminal Trial Alone Does Not Justify A Stay Of Discovery.

         The only ground Fields asserts to justify a blanket stay of discovery is the pendency of

  his criminal trial,1 but that alone does not require a stay of this civil action. “Because of the

  frequency with which civil and regulatory laws overlaps with criminal laws, American

  jurisprudence contemplates the possibility of simultaneous or virtually simultaneous parallel


  1
          Defendant Peinovich filed a Motion to Stay Discovery asserting that discovery ought to
  await the outcome of Defendants’ motions to dismiss. Plaintiffs opposed that motion as failing
  to articulate good cause to justify a stay, as set forth in Plaintiffs’ Memorandum in Opposition to
  Defendant Peinovich’s Motion to Stay Discovery. (ECF No. 240.)
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  proceedings and the Constitution does not mandate the stay of civil proceedings in the face of

  criminal proceedings.” Maryland v. Universal Elections, Inc., 729 F.3d 370, 379 (4th Cir. 2013)

  (citation omitted). Indeed the Supreme Court has repeatedly held “[t]hat the defendant faces

  such a dilemma demanding a choice between complete silence and presenting a defense has

  never been thought an invasion of the privilege against self-incrimination.” U.S. v. Rylander,

  460 U.S. 752, 759 (1983) (citation omitted); see also Skinner, 2015 WL 540156, at *3

  (“Although Defendant faces a choice in deciding what questions to answer, that choice does not

  violate his rights or force him to waive his rights in separate, subsequent criminal proceedings.”).

         Rather than the blunt instrument of a complete and indefinite stay of discovery,2 the

  appropriate method to protect a defendant’s rights (and the rights of other parties) in a case like

  this is to assert the Fifth Amendment right on a question-by-question basis with “sufficient

  particularity” for the Court to rule on the objection. See Skinner, 2015 WL 540156, at *3 (“for

  one to invoke the Fifth Amendment privilege the party claiming it must not only affirmatively

  assert it, he must do so with sufficient particularity to allow an informed ruling on the claim”




  2
           Fields requests a stay until the conclusion of his criminal trial but does not indicate
  whether it would remain in effect through post-trial motions and appeals. (See Mot. at 3.) Even
  if a stay were appropriate here (and it is not), any stay should apply solely to Fields and should
  be limited in duration. See Blanda v. Martin & Seibert, L.C., No. 2:16-0957, 2017 WL 63027,
  at *8 (S.D. W. Va. Jan. 5, 2017) (granting stay as to some defendants but denying as to another
  because it did not have a Fifth Amendment privilege and “granting a stay [as to that defendant]
  would prejudice plaintiff without advancing any opposing Fifth Amendment concerns.”); see
  Maracich v. Spears, No. 7:09-1651-HMH, 2010 WL 358128, at *3 (D.S.C. Jan. 25, 2010)
  (limiting stay to six months because the Supreme Court has held that a stay should ‘“not [be]
  immoderate in extent and not oppressive in its consequence.’” (quoting Landis, 299 U.S. at 256);
  Skinner, 2015 WL 540156, at *4-5 (declining to impose a limited or indefinite stay “until the
  criminal case has concluded [because] [t]hat process could take years (including trial, appeal and
  collateral attacks).”).
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  (citing N. River Ins. Co., Inc. v. Stefanou, 831 F.2d 484, 487 (4th Cir. 1987)); see also, U.S. v.

  Woods, 5:05-CR-131-FL, 2009 WL 8755602, at *3 (E.D.N.C. Dec. 28, 2009) (“[d]efendants are

  minded that the privilege may be asserted and preserved in the course of civil discovery

  proceedings, but only in specifics sufficient to provide the court with a record upon which to

  decide whether the privilege has been properly asserted as to each question”) (citation omitted);

  U.S. v. Scambos, No. 3:07-mc-00011, 2008 WL 3895956, at *3 (W.D. Va. Aug. 19, 2008), aff'd,

  318 F. App’x 221 (4th Cir. 2009) (noting that the defendant “cannot avoid answering questions

  merely because he declares that in so doing he would incriminate himself—his say-so does not

  itself establish the hazard of incrimination” and holding that defendant failed to assert the Fifth

  Amendment privilege with sufficient particularity for the court to make an informed ruling on his

  claim) (citation omitted).3 By proposing to stay all proceedings, rather than invoking on a

  request-by-request basis, Fields seeks to elide the clear requirement that he establish his

  entitlement to Fifth Amendment protection for each discovery request. That is not permitted, see

  Woods, 2009 WL 8755602, at *3, and severely hinders a civil case that involves many more

  parties and interests than his alone.




  3
           A defendant who properly invokes his Fifth Amendment right still may face adverse
  inferences as a result. Skinner, 2015 WL 540156, at * 3 (“[Defendant] is free to claim the
  protections of the Fifth amendment at any time he and his able attorneys see fit. In the context of
  a civil proceeding, however, [Defendant] is not free from an adverse inference as a result of his
  silence.”); Baxter, 425 U.S. at 318-19 (“the prevailing rule [is] that the Fifth Amendment does
  not forbid adverse inferences against parties to civil actions when they refuse to testify in
  response to probative evidence offered against them”).
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         B.      The Balance Of Factors Weighs Heavily Against A Stay Of Discovery.

         Not only does the pendency of Fields’ criminal trial alone fail to justify the relief requested,

  but all five of the factors routinely applied to such a motion in this Circuit weigh against granting

  a stay in this case. See Skinner, 2015 WL 540156, at *4.

                 1.      Plaintiffs’ Interests In Proceeding Weigh Heavily Against A Stay.

         This is precisely the type of civil action where a stay of discovery would have a significant

  adverse impact on Plaintiffs’ case. See In re Phillips, Beckwith & Hall, 896 F. Supp. 553, 559-60

  (E.D. Va. 1995) (denying stay in part because “[a] party is not entitled to delay resolution of a civil

  action, even to accommodate her Fifth Amendment interests, if her adversary’s case will

  deteriorate as a result of the stay”). While the civil case certainly includes Fields’ conduct on

  August 12, 2017 (the subject of his criminal case), the conduct relevant to Plaintiffs’ claims is

  substantially broader and includes twenty-four other defendants, none of whom have invoked Fifth

  Amendment protection.

         Indeed, this case presents particular concerns because Plaintiffs need to preserve, collect,

  and analyze a large body of electronic evidence from social media sites, email, and other sources,

  much of which requires collection from third parties, and all of which presents a danger of

  spoliation. There are also numerous Plaintiffs and Defendants, and their memories of the critical

  events are essential to the case. See In re Mid-Atl. Toyota Antitrust Litig., 92 F.R.D. 358, 359 (D.

  Md. 1981) (denying motion to stay and finding prejudice to plaintiff from delay because

  “[w]itnesses relocate, memories fade, and persons allegedly aggrieved are unable to seek

  vindication or redress for indefinite periods of time on end”).



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         A stay based on the pendency of Fields’ criminal proceeding would be of uncertain

  duration given the possibility of trial delays, post-trial motions, and appeals. That alone would

  constitute prejudice to Plaintiffs because it would effectively prevent Plaintiffs from taking

  testimony or obtaining documents from anyone involved with the events in Charlottesville until

  January 2019, if not substantially longer. See Avalonbay Cmtys., Inc., 2007 WL 2481291, at *2

  (“Plaintiff will be prejudiced by the undeterminable time length of any criminal prosecution

  because this makes it more likely that (1) documents will be misplaced; (2) memories will fade

  and (3) [d]efendants will have fewer monetary resources available for [p]laintiff to collect on any

  financial judgment.”).

                 2.        Civil Discovery Will Not Substantially Burden Fields.

         Fields has had several opportunities to assert his Fifth Amendment privilege and request a

  stay since this case was initiated almost five months ago—including a Rule 26(f) conference, two

  answers, initial disclosures, and responses and objections to discovery—but declined to do so.

  This weighs against granting a stay. See In re Anderson, 349 B.R. 448, 459 (E.D. Va. 2006)

  (affirming bankruptcy court’s denial of motion to stay in part because defendant had been under

  indictment for more than nine months when he consented to scheduling order and therefore

  “should have been aware of the Fifth Amendment dilemma he might face”). Indeed, by failing to

  invoke his Fifth Amendment rights in his answers, initial disclosures, and discovery responses to

  date, Fields has already waived that privilege on numerous occasions. See U.S. v. $43,660.00 in

  U.S. Currency and $4,000.00 in U.S. Currency, No. 1:15-CV-208, 2016 WL 1629284, at *5




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   (M.D.N.C. Apr. 22, 2016) (failure to claim Fifth Amendment privilege in response to discovery

   requests results in waiver).4

          There is also no merit to Fields’ vague arguments that proceeding with discovery will

   undermine his Fifth Amendment privilege, expand criminal discovery, or expose the basis of his

   defense to the prosecution in advance of his criminal trial. (See Mot. at 4 (citing SEC v. Dresser

   Indus., Inc., 628 F.2d 1368 (D.C. Cir. 1980)).) None of these concerns are present in this case, nor

   were they credited as a reason to stay discovery in Dresser, the case upon which Fields relies. Id.

   at 1376-79 (denying appeal of order requiring compliance with discovery).

          Fields’ Fifth Amendment privilege will not be undermined by proceeding with discovery

   here. “The fact that ‘an adverse inference can be drawn against litigants who assert their Fifth

   Amendment rights in a civil proceeding’ [] does not justify staying this action. If it did, there

   would be no need for the plethora of case law on the Fifth Amendment in the civil context; courts

   would simply stay every case in which a defendant’s Fifth Amendment rights may be implicated.”

   Skinner, 2015 WL 540156, at *5 (quoting Avalonbay Cmtys., Inc., 2007 WL 2481291, at *2).

   Indeed, Fields is free to “exercise his right against self-incrimination at any stage of a civil

   proceeding to which he is a party or a witness,” so long as he does so “with sufficient particularity

   . . . to provide the court with a record upon which to decide whether the privilege has been property

   asserted as to each question.” Skinner, 2015 WL 540156, at *3 (citing accord, N. River Ins. Co.,

   Inc., 831 F.2d at 486-87).




   4
          And, rather than abide by his own effort to stay discovery, Fields has also propounded
   discovery on every Plaintiff.
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          Fields also offers no reason to conclude that proceeding will expose the basis of his

   criminal defense or intrude upon his rights with respect to criminal discovery. Unlike other cases

   where courts have credited these reasons as weighing in favor of a stay, see U.S. Tobacco Inc. v.

   Big S. Wholesale of Va., LLC, No. 5:13-CV-527-F, 2014 WL 4923627, at *2 (E.D.N.C. Sept. 30,

   2014) (granting government’s motion to intervene and stay discovery), the criminal prosecutor

   here has not sought to intervene in this case, and Fields has identified no discovery requests that

   would be impermissible under the Federal Rules of Criminal Procedure. In addition, he is able to

   assert his Fifth Amendment right if and when a question is posed that would reveal his defense.

          For these reasons, any purported burden on Fields is insufficient to require a stay of all

   discovery in this action. Skinner, 2015 WL 540156, at *5 (denying motion to stay despite

   contemporaneous criminal action against defendants because defendant “is free to exercise his

   Fifth Amendment rights [and] [d]oing so places him at no greater disadvantage than every other

   litigant who wishes to protect his rights. If he chooses to testify, he has competent and able counsel

   to guide him.”).

                  3.      The Interests Of The Court Are Not Served by an Indefinite Delay.

          Although Fields claims otherwise, he is requesting a stay of indeterminate length. It cannot

   be known, nor can Fields reliably predict, when his criminal liability will have been conclusively

   determined and discovery could recommence. A grant of his Motion would therefore run directly

   contrary to the Court’s “policy of efficient and expeditious resolution of cases.” Skinner, 2015

   WL 540156, at *5 (citation omitted); see also Bennett, 2016 WL 10721816, at *1 (motions to stay

   discovery are “generally disfavored.”); Kron Med. Corp. v. Groth, 119 F.R.D. 636, 637-38

   (M.D.N.C. 1988) (in considering motions to stay, a court “needs to remain mindful of its

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   responsibility to expedite discovery and minimize delay. Disruption or prolongation of the

   discovery schedule is normally in no one’s interest.” (internal citation omitted)).

                  4.      The Interests Of Non-Parties Do Not Favor A Stay.

          There are no substantial third-party interests that weigh in favor of a stay, and Fields

   identifies none. The outcome of Fields’ criminal case, and his related Fifth Amendment rights,

   will not affect third parties’ obligations to respond to discovery requests. Moreover, although

   Fields argues generally that third party interests support a stay because their evidence or testimony

   could be used against them in a theoretical criminal proceeding (Mot. at 5), neither he nor the

   unnamed third parties to which he refers have articulated a viable threat of criminal liability to

   anyone other than Fields. See In re Mid-Atl. Toyota Antitrust Litig., 92 F.R.D at 360 (denying stay

   despite claim that non-parties will claim Fifth Amendment privilege because “the Court can rule

   on individual assertions of Fifth Amendment privilege if and when such assertions occur”). And,

   as explained above, if any discovery request actually implicates a third party’s right against self-

   incrimination, that third party may raise the Fifth Amendment privilege, just as Fields can.

                  5.      The Public Interest Weighs Against A Stay.

          “[T]he public has an interest in seeing a resolution of this action,” granting relief to

   Plaintiffs if they are successful, and determining whether defendants “acted squarely within the

   law.” Skinner, 2015 WL 540156, at *5. This is particularly the case for Plaintiffs’ claims under

   the Ku Klux Klan Act, which was enacted to reflect congressional intent to provide “a means of

   redress for persons victimized by the Klan’s acts of terror and intimidation.” Bergman v. U.S.,

   551 F. Supp. 407, 413 (W.D. Mich. 1982). To the extent Plaintiffs prevail and obtain an injunction,

   the public will have a further interest in preventing the enjoined behavior. These public interests
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   disfavor a stay regardless of whether Fields remains incarcerated. (See Mot. at 5.) For these

   reasons, the public interest would be served by denying a stay and permitting this case to proceed

   through discovery.

                                           CONCLUSION

          WHEREFORE, for the reasons stated above, it is requested that this Court deny Fields’

   Motion to Stay Discovery.

          Dated: March 8, 2018                         Respectfully submitted,

                                                       s/ Robert T. Cahill
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on March 8, 2018, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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   Pro Se Defendant
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           I further hereby certify that on March 8, 2018, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

   Loyal White Knights of the Ku Klux Klan             Andrew Anglin
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